                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                  GREENEVILLE DIVISION

  JANE DOE1, JANE DOE 2, JANE DOE 3,
  JANE DOE 4, JANE DOE 5, K.T. AND M.T.,
  PERSONAL REPRESENTATIVES TO JANE
  DOE 6, JANE DOE 7, JANE DOE 8, AND
  JANE DOE 9,

                          Plaintiffs,

  v.                                                           Case No. 2:23-cv-00071-TRM-JEM

  CITY OF JOHNSON CITY, TENNESSEE, et al.



                      MOTION TO QUASH SUBPEONA OR IN THE
                ALTERNATIVE AN EXTENSION OF TIME FOR COMPLIANCE

            COMES NOW, the Non-Party, Alunda Rutherford, by and through its undersigned

  counsel and pursuant to Fed. R. Civ. P. 45(d)(3), hereby moves to Quash the Plaintiff’s Subpoena

  to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil

  Action issued by the Plaintiffs’ counsels from the United States District Court for the Eastern

  District of Tennessee, as said subpoena is overly broad and burdensome to the Non-Party, fails to

  provide a reasonable time for compliance, fails to provide place to send requested documents and

  information, fails to provide address of location of premises to be inspected, and constitutes an

  abuse of the subpoena power.



       I.      BACKGROUND

            The present lawsuit concerns an alleged cover up of crimes perpetrated by members of

       the Johnson City, Tennessee Police Department on behalf of Sean Williams. The alleged




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     crimes included rape and drug activity that were believed to be covered up began in 2018 and

     continued to 2021.



     II.      ARGUMENT

           Ms. Rutherford began their personal relationship Mr. Williams around 2010 and their

     personal relationship ended in 2017. Since the ending of their personal relationship, Ms.

     Rutherford’s communications with Mr. Williams have been infrequent and these infrequent

     communications are not relevant to the pending action before this Court. Upon his arrest,

     federal and state law enforcement officials met with Ms. Rutherford to discuss any

     information she may have and they concluded that she had no relevant information regarding

     his alleged criminal activity.

           Plaintiff’s complaint does not allege any improper activities by Ms. Rutherford. In fact

     the only time Ms. Rutherford’s name has come up is through a posting on FaceBook by

     someone using the name of Sean Williams, who was incarcerated at the time. The Plaintiffs

     are using this anonymous posting as the basis to harass Mr. Rutherford and attempt to involve

     her in this case, which she has no relevant knowledge or have in her possession any relevant

     documents.

           The Plaintiffs’ subpoena provides no location on where to provide the documents in that

     it simply states “TBD”. The subpoena further fails to provide the address of the premises to

     be inspected.

           The Non-Party asks the Court to quash this subpoena due to it being overly broad and

     unduly burdensome on the Non-Party due to its requests and vagueness.




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     WHEREFORE, the Non-Party, Alunda Rutherford, respectfully requests that this Court enter

  an order quashing the subpoena or in the alternative an extension of time for compliance with the

  subpoena.




                                                Respectfully submitted,

                                                /s/ Jerome Cochran_________
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                                                Counsel for Non-Party


                                   CERTIFICATE OF SERVICE

  I hereby certify that on April 30, 2024, I electronically filed the foregoing document with the

  Court’s CM/ECF filing system. Notice of this filing will be sent to all parties of record by

  operation of the Court’s electronic filing system.



                                                /s/ Jerome Cochran______
                                                Jerome Cochran




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